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AO 467 (Rey. 01/09) Order Requiring a Defendant to Appear in the District Chai Pending and Transferring Bail

UNITED STATES DISTRICT COURT

 

For the District of Arizona
, United States of America )
V.
Case No. 22-02967MJ-001
) a toe
. .,:,, Northern District of California,
Enrique Chavez Charging District: Oakland

Defendant Charging District's Case No. 4:22-cr-104 JSW

ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICT
WHERE CHARGES ARE PENDING AND TRANSFERRING BAIL

After a hearing in this court, the defendant is released from custody and ordered to appear in the district court .
where the charges are pending to answer those charges. If the time to appear in that court has not yet been set, the
defendant must appear when notified to do so. Otherwise, the time and place to appear in that court are:

 

 

 

 

 

Place: Court Now

U.S. District Court -- Oakland, CA ourtroom No! TBA

MAGISTRATE JUDGE:

TBA Date: March 31, 2022
Time: 10:00 AM

 

The clerk is ordered to transfer any bail deposited in the registry of this court to the clerk of the court where the
charges are pending.

Date: March 24, 2022 2 gutha YA Cche LL .

Judge's signature

 

Printed name and title
